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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

  MONIQUE PERNA, and LISA
  CROUCH individually, and on
  behalf of all others similarly situated

        Plaintiffs,                                       CASE NO.: 3:20-cv-00391-MMH-MCR

  v.

  AMERICAN CAMPUS COMMUNITIES,
  INC.,

         Defendant.

                                            /

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

               Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), the Plaintiffs, Monique

Perna and Lisa Crouch, by and through their undersigned counsel, hereby gives notice that the

above-captioned action is voluntarily dismissed, without prejudice.



                                                Respectfully submitted,

                                                /s/ Amanda J. Allen, Esq.____________________
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed via

the Court’s CM/ECF system on July 10, 2020, which will serve an electronic copy upon all

parties of record.

                                           /s/ Amanda J. Allen, Esq.____________________
                                           Amanda J. Allen, Esquire
                                           Florida Bar No. 0098228




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